             Case 3:07-cv-05944-JST Document 3866 Filed 06/08/15 Page 1 of 4



1    Vaughn R Walker
     Special Master
2
     Law Office of Vaughn R Walker
3    Four Embarcadero Center, Suite 2200
     San Francisco, CA 94111
4
     Tel: (415) 871-2888
5    Fax: (415) 871-2890
     vrw@judgewalker.com
6
7
8
9
10                                IN THE UNITED STATES DISTRICT COURT
11                             FOR THE NORTHERN DISTRICT OF CALIFORNIA
12
13
14   IN RE CATHODE RAY TUBE (CRT) ANTITRUST              MDL No 1917
15   LITIGATION
                                                         Master Case No 3:07-cv-05944SC
16
                                                         ORDER RE MITSUBISHI’S MOTION TO
17   THIS ORDER RELATES TO:                              COMPEL VIEWSONIC PERCIPIENT WITNESS
18                                                       DEPOSITIONS AND COORDINATION OF
     ALL CASES                                           DISCOVERY
19
20
21
22
23
24
25
26
27
28
29
     ORDER RE MITSUBISHI’S MOTION TO COMPEL VIEWSONIC PERCIPIENT WITNESS
     DEPOSITIONS AND COORDINATION OF DISCOVERY                                     PAGE 1 OF 4
30

31

32
                 Case 3:07-cv-05944-JST Document 3866 Filed 06/08/15 Page 2 of 4



1                     An issue of potential concern to all parties has arisen in the context of
2    Mitsubishi’s Motion to Compel ViewSonic Percipient Witness Depositions. Since the above-
3    referenced motion was originally filed on behalf of the Mitsubishi Defendants1 (collectively,
4    “Mitsubishi”), Mitsubishi and ViewSonic have settled their dispute (see Order, Docket No 3846).
5    Now ViewSonic wishes to have the motion withdrawn from consideration.
6                     But counsel for Chunghwa Picture Tubes and LG Electronics, Inc have written to
7    express the view that the Motion to Compel ViewSonic Percipient Witness Depositions remains
8    a live motion as to the remaining defendants. 5/28/15 Brass Ltr at 1. Citing the court’s
9    Discovery Protocol, requiring all defendants’ counsel to engage in best efforts to coordinate
10   discovery efficiently and without duplication (Dkt 1128), counsel contends that “the Defendants
11   did not – and could not—move independently on these requests and instead understood that
12   the Motion would apply equally to all parties given the consolidated nature of these
13   proceedings.” Because the issues concerning ViewSonic’s discovery are relevant to the claims
14   against the remaining Defendants, “the Defendants respectfully request that the Court issue a
15   decision on the pending motion.” 5/28/15 Brass Ltr at 2.
16                    ViewSonic objects on the grounds that: (1) “neither Chunghwa nor LG
17   Electronics joined Mitsubishi’s Motion, nor did either party participate in the extensive meet-
18   and-confer discussions regarding the Motion,” and (2) “neither Chunghwa nor LG Electronics
19   signed onto the discovery request.” 5/29/15 Heaven Ltr at 1. ViewSonic requests that
20   Mitsubishi’s Motion be dismissed as moot.
21                    The court’s Discovery Protocol required coordination of “discovery in all actions
22   transferred to this MDL” and that “[a]ll CRT Plaintiffs’ counsel and Defendants’ counsel shall
23   engage in their best efforts to conduct discovery efficiently and without duplication.” 4/3/12
24   Discovery Protocol, Dkt 1128 at 14. The Protocol also specifies that: “Defendants shall consult
25
26
27           1
               Mitsubishi Electric Corporation (“MELCO”), Mitsubishi Electric US, Inc (“MEUS”) and Mitsubishi
28   Electric Visual Solutions America, Inc (“MEVSA”).

29
     ORDER RE MITSUBISHI’S MOTION TO COMPEL VIEWSONIC PERCIPIENT WITNESS
     DEPOSITIONS AND COORDINATION OF DISCOVERY                                               PAGE 2 OF 4
30

31

32
             Case 3:07-cv-05944-JST Document 3866 Filed 06/08/15 Page 3 of 4



1    in good faith in an effort to propound joint written discovery requests, but to the extent
2    separate written discovery is served, Defendants shall not duplicate interrogatories, requests
3    for admission, and requests for documents.” Id. By requiring that only non-duplicative written
4    discovery be served, the Protocol suggests that Defendants are mandated not to serve
5    independent written discovery unless non-duplicative.
6                   The Protocol further specifies:
7                   Any discovery requests, including written discovery, deposition notices, or
                    subpoenas served in this MDL proceeding, shall be served on Interim Lead
8
                    Counsel for Direct Purchaser Plaintiffs and Interim Lead Counsel for Indirect
9                   Purchaser Plaintiffs, each State Attorney General, and Liaison Counsel for
                    Individual Action Plaintiffs, who shall be the only individual action plaintiffs’
10
                    counsel who must be served with discovery requests and responses, and on
11                  counsel for each defendant.
12
     By requiring each discovery request be served on Interim Lead Counsel, Liaison Counsel, each
13
     State Attorney General and counsel for each Defendant, the Discovery Protocol keeps all
14
     parties informed of all discovery requests in an effort to coordinate the extensive discovery
15
     involved in this large and complex MDL.
16
                    The disposition of the Mitsubishi motion to compel ViewSonic percipient
17
     witnesses may implicate the interests of other remaining defendants who may wish to submit a
18
     letter brief in support of consideration of the Mitsubishi motion despite Mitsubishi’s own
19
     withdrawal. Furthermore, counsel for Chunghwa and LG Electronics raise the broader issue of
20
     when can a party reasonably depend on the coordination of discovery to rely upon another
21
     party’s discovery efforts? Did the party need to serve an official notice of joinder? Given the
22
     intent of the Discovery Protocol, that may be too strict a requirement. Now that a number of
23
     parties have settled and are in the process of withdrawing their discovery motions, the
24
     undersigned finds that the interests of justice would be served by allowing counsel for any
25
     party to this MDL whose interests may be implicated by the withdrawal of a pending motion by
26
27
28
29
     ORDER RE MITSUBISHI’S MOTION TO COMPEL VIEWSONIC PERCIPIENT WITNESS
     DEPOSITIONS AND COORDINATION OF DISCOVERY                                             PAGE 3 OF 4
30

31

32
Case 3:07-cv-05944-JST Document 3866 Filed 06/08/15 Page 4 of 4
